Case 7:17-cr-00025-JPJ   Document 80 Filed 09/01/17   Page 1 of 7   Pageid#:
                                   1084
Case 7:17-cr-00025-JPJ   Document 80 Filed 09/01/17   Page 2 of 7   Pageid#:
                                   1085
Case 7:17-cr-00025-JPJ   Document 80 Filed 09/01/17   Page 3 of 7   Pageid#:
                                   1086
Case 7:17-cr-00025-JPJ   Document 80 Filed 09/01/17   Page 4 of 7   Pageid#:
                                   1087
Case 7:17-cr-00025-JPJ   Document 80 Filed 09/01/17   Page 5 of 7   Pageid#:
                                   1088
Case 7:17-cr-00025-JPJ   Document 80 Filed 09/01/17   Page 6 of 7   Pageid#:
                                   1089
Case 7:17-cr-00025-JPJ   Document 80 Filed 09/01/17   Page 7 of 7   Pageid#:
                                   1090
